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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                         )   MDL No. 16-2740
PRODUCTS LIABILITY                                  )
LITIGATION                                          )   SECTION: “H” (5)
                                                    )
This document relates to:                           )
Cases listed on Exhibit A                           )

                                 ORDER AND REASONS

         Before the Court is Defendants’ Motion for Summary Judgment on the
Claims of Plaintiffs Whose Taxotere Treatment Started After December 11,
2015 (Doc. 9268). For the following reasons, the Motion is GRANTED.



                                       BACKGROUND

         Plaintiffs in this multidistrict litigation (“MDL”) are suing several
pharmaceutical          companies      that    manufactured   and/or   distributed   a
chemotherapy drug, Taxotere or docetaxel, 1 that Plaintiffs were administered
for the treatment of breast cancer or other forms of cancer. Plaintiffs allege
that the drug caused permanent alopecia—in other words, permanent hair
loss. Plaintiffs bring claims of failure to warn, negligent misrepresentation,
fraudulent misrepresentation, and more.
         The instant Motion relates to nearly 200 cases. Defendants’ Motion is
rooted in the fact that in December 2015, the Taxotere label was updated to
specifically warn of the risk of permanent alopecia. Defendants ask the Court
to grant summary judgment against these hundreds of Plaintiffs because they
were treated with Taxotere after this label change. Defendants argue that



1   Docetaxel is the generic version of Taxotere.
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these Plaintiffs cannot prove an essential element of their failure to warn
claims. Alternatively, Defendants argue that their claims are preempted.


                                 LEGAL STANDARD

       Summary judgment is warranted where “there is no genuine dispute as
to any material fact and the movant is entitled to judgment as a matter of
law.” 2 A genuine issue of fact exists only “if the evidence is such that a
reasonable jury could return a verdict for the nonmoving party.” 3 Rule 56 of
the Federal Rules of Civil Procedure “mandates the entry of summary
judgment, after adequate time for discovery and upon motion, against a party
who fails to make a showing sufficient to establish the existence of an element
essential to that party’s case, and on which that party will bear the burden of
proof at trial.” 4 “If the evidence is merely colorable, or is not significantly
probative, summary judgment may be granted.” 5



                                LAW AND ANALYSIS

       Defendants first argue that the Plaintiffs at issue cannot create a
genuine dispute of material fact on an essential element of their claims.
Specifically, Defendants aver that Plaintiffs cannot demonstrate that the
Taxotere label, after the December 2015 update, was inadequate. Instead,
Defendants contend that the updated Taxotere label was adequate as a matter
of law. Indeed, the label made several references to permanent hair loss, which
is the very injury of which Plaintiffs allege they were not warned. These


2 Fed. R. Civ. P. 56.
3 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
4 Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).
5 Anderson, 477 U.S. at 249–50 (internal citations omitted).


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references were in three sections of the Taxotere label: the “Adverse Reactions”
section, the “Patient Counseling Information” section, and the “Patient
Leaflet.”
      In response, Plaintiffs do not dispute that the December 2015 label
addressed the risk of permanent hair loss in these three sections. Plaintiffs
argue, however, that the label was nonetheless inadequate because there was
no mention of permanent alopecia in the “Warnings and Precautions” section
of the label. Notably, Plaintiffs ask the Court to ignore certain testimony from
one of their experts, Dr. David Kessler. Dr. Kessler has repeatedly testified (in
cases of individual Plaintiffs who received Taxotere before December 2015)
that the risk of permanent alopecia should be addressed in either the
“Warnings and Precautions” section or the “Adverse Reactions” section of the
label. According to Plaintiffs, however, this testimony from Dr. Kessler was
case specific and did not contemplate MDL Plaintiffs who were treated after
December 2015. Plaintiffs further aver that because none of the roughly 200
Plaintiffs before the Court have been selected as bellwether Plaintiffs, no
expert has opined on the adequacy of the label after December 2015.
      “It is axiomatic that an essential element of a failure to warn claim is a
defendant’s failure to adequately warn about the alleged risks associated with
its product.” 6 In prescription drug cases like this one, the learned intermediary
doctrine modifies the adequacy analysis. Under this doctrine, “adequacy in the
context of prescription drugs is a function of whether the doctor, rather than
the patient, would reasonably understand the risks.” 7



6 In re Foxamax (Alendronate Sodium) Prods. Liab. Litig., No. 12-cv-492, 08-08, 2014 WL
  2738224, at *8 (D.N.J. June 17, 2014).
7 Meridia Prods. Liab. Litig. v. Abbott Labs, 447 F. 3d 861, 867 (6th Cir. 2006).




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       In the MDL context, transferee courts have issued omnibus orders
finding a drug label adequate as a matter of law. 8 For example, in In re
Fosamax (Alendronate Sodium) Products Liability Litigation, an MDL court
held that a drug label was adequate where it was accurate, clear, consistent,
and “as a whole convey[ed] an unmistakable meaning as to the consequences
of ingesting [the drug].” 9 Considering the evidence in the instant cases before
this Court, the Court finds that the Taxotere label after December 2015 was
adequate as a matter of law.
       As Defendants note, the Taxotere label at issue here clearly and
consistently explained that the drug carried a risk of permanent hair loss. In
the “Adverse Reactions” section of the drug, the label stated that “[c]ases of
permanent alopecia have been reported.”               10   In the “Patient Counseling
Information” section, the label instructed doctors to “[e]xplain to patients that
side effects such as nausea, vomiting, diarrhea, constipation, fatigue, excessive
tearing, infusion site reactions, and hair loss (cases of permanent hair loss have
been reported) are associated with docetaxel administration.” 11 Lastly, the
“Patient Leaflet,” which is intended for patients, provided a list of the most
common side effects of Taxotere, and this list included the following item: “hair
loss: in most cases normal hair growth should return. In some cases (frequency
not known) permanent hair loss has been observed.” 12 Because the label clearly




8 Id. (affirming district court’s order in MDL that found drug label adequately warned of
  drug’s risk of high blood pressure as a matter of law); In re Chantix (Varenicline) Prods.
  Liab. Litig., 881 F. Supp. 2d 1333, 1343 (N.D. Ala. 2012) (holding drug label, after certain
  updates, adequately warned of risk of neuropsychiatric injuries as a matter of law).
9 2014 Wl 2738224, at *11 (D.N.J. June 17, 2014).
10 Doc. 9268-2 at 9.
11 Id.
12 Id. at 10.




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and consistently warned of the precise injury Plaintiffs suffered, the Court
finds that the label was adequate. 13
       To defeat summary judgment, Plaintiffs would need to show expert
evidence creating an issue of fact on the adequacy of Taxotere’s warning. 14
Plaintiffs have failed to do so. Plaintiffs aver that the language about
permanent hair loss should have been included in the “Warnings and
Precautions” section of the label, but Plaintiffs present no evidence to support
this notion. Indeed, Plaintiffs’ own expert, Dr. Kessler, testified as follows:
               My opinion is that it should have been clearly and –
               the company should have clearly and prominently
               warned. I think, in the end, there are different sections
               of the label. I’m happy to discuss that. There is a
               warning section. It’s called Section 5. There is an
               adverse event section called Section 6. I think in either
               section, as long as it was clearly and prominently
               warned of permanent hair loss, that’s what I care
               about. 15


13  Yates v. Ortho-McNeil-Janssen Pharm., Inc., 808 F.3d 281, 290 (6th Cir. 2015)
  (“[P]rescription medicine warnings are adequate when . . . information regarding ‘the
  precise malady incurred’ was communicated in the prescribing information.”) (quoting
  Alston v. Caraco Pharm., Inc., 670 F. Supp. 2d 279, 284 (S.D.N.Y. 2009)); Kling v. Key
  Pharm., Inc., 35 F.3d 556 (Table), at *3 (4th Cir. 1994) (upholding district court ruling that
  label was adequate as a matter of law where “[t]he precise harm alleged to be suffered by
  [plaintiff], a seizure, was clearly listed as a potential side effect of taking [the drug]”). See
  also Ziliak v. AstraZeneca LP, 324 F.3d 518, 521 (7th Cir. 2003) (upholding district court
  ruling that updated label was adequate as a matter of law where plaintiff’s injuries were
  specifically listed as adverse side effects).
14 See Colville v. Pharmacia & Upjohn Co., LLC, 565 F. Supp. 2d 1314, 1321 (N.D. Fla. 2008)

  (finding warning adequate as a matter of law and explaining that plaintiff lacked expert
  evidence on the issue); Benedict v. Zimmer, Inc., 405 F. Supp. 2d 1026, 1033 (N.D. Iowa
  2005) (“[T]o show the device was defective because of inadequate instructions or warnings
  requires expert testimony.”). See also Ziliak, 324 F.3d at 521. In Ziliak, the Seventh Circuit
  affirmed the district court’s grant of summary judgment on the adequacy of a drug label.
  Id. The district court had found that the plaintiff’s expert had not sufficiently established
  his expertise. Id at 520. The court wrote, however, that even if his expert testimony was
  considered, he failed to create an issue of fact on the adequacy of the warning but instead
  advocated for a label that was consistent with the language in the label. Id. The Seventh
  Circuit agreed. Id. at 521.
15 Doc. 9268-2 at 14 (quoting transcript).


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Unsurprisingly, Plaintiffs now back away from this opinion. They aver that it
is case specific and should not be considered along with the instant Motion.
However, Plaintiffs have come forward with no other evidence. They claim that
no expert has opined on post-2015 cases because there are no bellwether
Plaintiffs who received treatment after December 2015.
      The Court will not allow Plaintiffs to shield these nearly 200 cases from
dismissal under this logic. For months now, the parties and this Court have
discussed the filing of this “fencepost” (or omnibus) motion. The parties agreed
on the briefing schedule. Most striking, however, is that Plaintiffs’ expert
testimony regarding placement of the alopecia warning is solely in the
possession of the Plaintiffs. Plaintiffs had ample time and opportunity to
identify and present expert evidence supporting their argument that
permanent hair loss should have been addressed in the “Warnings and
Precautions” section of the label. Yet Plaintiffs failed to do so. Accordingly,
summary judgment is appropriate.
      Because the Court is granting summary judgment due to Plaintiffs’ lack
of evidence on the adequacy of the Taxotere label, the Court sees no need to
address Defendants’ preemption argument.



                               CONCLUSION

      For the foregoing reasons, Defendants’ Motion for Summary Judgment
on the Claims of Plaintiffs Whose Taxotere Treatment Started After December
11, 2015 (Doc. 9268) is GRANTED. The failure to warn claims of the Plaintiffs
listed on Exhibit 1 of the Motion are DISMISSED WITH PREJUDICE. Any
other claims these Plaintiffs have remain pending. Liaison counsel should




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provide the Court with a list of any cases that have no claims remaining and
should be dismissed as a result of this ruling;
      IT IS FURTHER ORDERED that the remaining argument in the
Motion for Summary Judgment (Doc. 6186) is DISMISSED AS MOOT.


      New Orleans, Louisiana this 27th day of May, 2020.




                                        JANE TRICHE MILAZZO
                                        UNITED STATES DISTRICT JUDGE




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                                                First Treatment
   Last Name                  MDL Docket No.
                                                      Date
   PETRIE                      2:18-cv-13643      12/15/2015
   ROLAND                      2:17-cv-16041      12/16/2015
   HENRY                       2:17-cv-12780      12/17/2015
   JACKSON BIREE               2:19-cv-13256      12/18/2015
   PAPAJOHN                    2:17-cv-16380      12/21/2015
   WHITE                       2:18-cv-11593      12/21/2015
   FLOWERS                     2:18-cv-12439      12/22/2015
   CHAVEZ                      2:17-cv-07497      12/28/2015
   MATSUMURA                   2:17-cv-09533      12/28/2015
   CHASE                       2:18-cv-12941      12/29/2015
   BERNHARD                    2:19-cv-13649      12/30/2015
   COZZA                       2:18-cv-03442      12/30/2015
   SCOTT                       2:16-cv-15472       01/5/2016
   SCRUGGS                     2:18-cv-08227       01/5/2016
   ALLBRITTON                  2:18-cv-06530       01/6/2016
   BEERMAN                     2:18-cv-01879       01/7/2016
   MCGAHEY                     2:19-cv-11467       01/7/2016
   WRIGHT                      2:17-cv-14420       01/7/2016
   JONES                       2:18-cv-12850       01/8/2016
   WATKINS                     2:18-cv-06462       01/8/2016
   FEEHERTY                    2:19-cv-09670      01/11/2016
   VELASQUEZ                   2:18-cv-07208      01/12/2016
   REECE                       2:18-cv-13515      01/15/2016
   TICEY                       2:17-cv-15859      01/18/2016
   HIGHT                       2:18-cv-01854      01/21/2016
   RANKINS                     2:17-cv-14999      01/25/2016
   NANNEY                      2:19-cv-09538      01/27/2016
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   Last Name                 MDL Docket No.
                                                      Date
   SKELTON                     2:18-cv-04810      01/27/2016
   LEWIS                       2:18-cv-00401      01/28/2016
   PERRY                       2:18-cv-03417      01/28/2016
   ALLEN                       2:18-cv-05776      01/29/2016
   KING                        2:18-cv-12856      02/??/2016
   MARTIN                      2:17-cv-16355      02/??/2016
   RANDALL                     2:18-cv-12883      02/??/2016
   ROBSON                      2:18-cv-06695      02/??/2016
   MITCHELL                    2:18-cv-10906      02/2/2016
   USHER WILLIAMS              2:17-cv-11194      02/4/2016
   PIERRE CANEL                2:18-cv-02818      02/5/2016
   MILLER                      2:18-cv-11729      02/12/2016
   WOZNY                       2:18-cv-07202      02/15/2016
   CADIERE                     2:18-cv-06171      02/17/2016
   PETTIS                      2:19-cv-09443      02/18/2016
   CUNNINGHAM                  2:19-cv-11930      02/23/2016
   MASSIE                      2:18-cv-10110      02/23/2016
   GROVES                      2:17-cv-15595      02/25/2016
   IEROKOMOS                   2:18-cv-14249      02/26/2016
   JONES                       2:18-cv-01662      02/26/2016
   ROBINSON                    2:17-cv-13918      02/28/2016
   COWAN                       2:17-cv-12540      02/29/2016
   MCGAUGHEY                   2:17-cv-15967      03/??/2016
   JOHNSON                     2:17-cv-11214      03/6/2016
   BAFFO                       2:18-cv-11311      03/7/2016
   BLUMLO                      2:16-cv-17972      03/8/2016
   CONE                        2:19-cv-01898      03/9/2016
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   Last Name                 MDL Docket No.
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   TOLAN                       2:18-cv-03946      03/10/2016
   WEST                        2:19-cv-14084      03/14/2016
   STOOPS                      2:17-cv-13921      03/15/2016
   MAJOR                       2:19-cv-12303      03/17/2016
   CHAGAS                      2:20-cv-00022      03/23/2016
   SCHULTZ                     2:18-cv-00498      03/25/2016
   FLOYD MOTTER                2:18-cv-02109      03/28/2016
   HUGHES                      2:19-cv-01903      03/31/2016
   GILMORE                     2:19-cv-01900      04/5/2016
   DYER                        2:19-cv-00730      04/6/2016
   LENCREROT                   2:19-cv-00365      04/6/2016
   FREEMAN                     2:18-cv-05554      04/8/2016
   NEWMAN PARKER               2:18-cv-10882      04/12/2016
   HEGENBART                   2:18-cv-09084      04/14/2016
   BENIGNO                     2:18-cv-10566      04/19/2016
   LOPES                       2:17-cv-14143      04/19/2016
   WILLIAMS                    2:18-cv-13268      04/21/2016
   CURLEYMORABITO              2:18-cv-05986      04/22/2016
   HOLMES                      2:18-cv-06700      05/1/2016
   MINOR                       2:19-cv-00037      05/??/2016
   BAILEY                      2:17-cv-13942      05/2/2016
   JONES                       2:18-cv-14329      05/3/2016
   CAULKER                     2:17-cv-17150      05/6/2016
   PROCTOR                     2:17-cv-16662      05/6/2016
   WEST                        2:19-cv-11271      05/6/2016
   MCMULLEN                    2:17-cv-17056      05/11/2016
   DENBY                       2:18-cv-07609      05/12/2016
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   Last Name                 MDL Docket No.
                                                      Date
   SINGER                      2:19-cv-12536      05/13/2016
   CASTLE                      2:19-cv-10055      05/19/2016
   WOMACK                      2:17-cv-15744      05/23/2016
   BERRY                       2:18-cv-06173      05/24/2016
   ROBERTSON                   2:18-cv-06092      05/26/2016
   WARREN                      2:18-cv-13070      05/26/2016
   SHADLE                      2:18-cv-03292      05/27/2016
   JOHNSON                     2:17-cv-12544      05/31/2016
   HORNE                       2:18-cv-04434      06/2/2016
   PRZEKURAT                   2:18-cv-12913      06/2/2016
   BLACKMON                    2:19-cv-09973      06/3/2016
   ROCHA                       2:18-cv-11723      06/9/2016
   SMITH                       2:18-cv-05556      06/9/2016
   JONES                       2:18-cv-04465      06/14/2016
   WILLIAMS                    2:19-cv-11947      06/14/2016
   WEEKS                       2:17-cv-15119      06/15/2016
   HUTCHINSON                  2:18-cv-11496      06/16/2016
   IRVING                      2:18-cv-07846      06/22/2016
   SIMPSON                     2:17-cv-15575      06/22/2016
   MCCULLUM                    2:18-cv-06177      06/27/2016
   ADKINS                      2:18-cv-12307      07/8/2016
   MARTIN                      2:18-cv-13104      07/11/2016
   WILLIAMS                    2:18-cv-02391      07/13/2016
   WINGATE                     2:18-cv-10321      07/13/2016
   WHITEHEAD                   2:19-cv-12878      07/20/2016
   RHEA                        2:17-cv-15421      07/21/2016
   MATTHEWS                    2:17-cv-17055      07/25/2016
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   Last Name                 MDL Docket No.
                                                      Date
   SMITH                       2:19-cv-12040      07/28/2016
   SANTIAGO                    2:17-cv-09131      07/29/2016
   DAVIS                       2:17-cv-16280      08/??/2016
   GHOLAR                      2:18-cv-00502      08/??/2016
   ARROYO                      2:19-cv-07567      08/2/2016
   KINSLER                     2:19-cv-10627      08/2/2016
   NICHOLS                     2:17-cv-15204      08/4/2016
   FERNANDEZ                   2:18-cv-08114      08/11/2016
   SMITH                       2:18-cv-13890      08/11/2016
   BURNS                       2:19-cv-11973      08/12/2016
   KIMBRELL                    2:18-cv-12329      08/17/2016
   PRZESTRZELSKI               2:19-cv-01176      08/18/2016
   MILTON                      2:18-cv-05997      08/19/2016
   CREWS                       2:17-cv-10525      08/25/2016
   GOODMAN                     2:18-cv-07244      08/26/2016
   ANDRES                      2:18-cv-06189      08/29/2016
   KNIGHT                      2:17-cv-17052      08/31/2016
   WEAVER                      2:17-cv-15513      08/31/2016
   ADAMS                       2:17-cv-16210      09/??/2016
   KIRBY                       2:18-cv-10313      09/13/2016
   GILMORE                     2:18-cv-05273      09/14/2016
   BROWN                       2:19-cv-11980      09/20/2016
   GREEN                       2:17-cv-13902      09/21/2016
   BACH                        2:19-cv-12357      09/22/2016
   MORGAN                      2:18-cv-11822      09/22/2016
   GLENN                       2:18-cv-13020      09/28/2016
   MCMILLAN                    2:18-cv-10481      09/29/2016
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   Last Name                 MDL Docket No.
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   BROWN                       2:19-cv-12433      10/??/2016
   CASTILLE                    2:18-cv-03431      10/??/2016
   COX                         2:18-cv-12902      10/??/2016
   PARSONS                     2:19-cv-02174      10/3/2016
   SYLVE                       2:17-cv-14650      10/11/2016
   HAYES                       2:18-cv-08308      10/12/2016
   HENDRICKS                   2:18-cv-07248      10/13/2016
   SHAW                        2:18-cv-05780      10/17/2016
   RAGSDALE                    2:19-cv-11266      10/24/2016
   BLACK                       2:18-cv-02782      11/??/2016
   SKILLOM                     2:19-cv-11936      11/1/2016
   WELLS                       2:18-cv-13440      11/??/2016
   HOFF                        2:19-cv-12700      11/8/2016
   DUVALL                      2:18-cv-04715      11/11/2016
   EIDEL                       2:17-cv-06024      11/17/2016
   BAREFIELD                   2:19-cv-13433      11/18/2016
   MILLICAN                    2:18-cv-14040      11/18/2016
   SPADA                       2:19-cv-12775      11/29/2016
   GOLDSBORO                   2:18-cv-12441      12/2/2016
   DAVIS                       2:19-cv-12251      12/8/2016
   SAMPSON                     2:17-cv-15773      12/8/2016
   HARRIS                      2:19-cv-00504      12/9/2016
   PASTORKOVICH                2:18-cv-13186      12/15/2016
   ZUPKO                       2:18-cv-13465      12/19/2016
   ROLLE                       2:18-cv-12914      01/2/2017
   BARKER                      2:17-cv-13272      01/3/2017
   TOLBERT                     2:18-cv-04463      01/9/2017
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   Last Name                 MDL Docket No.
                                                      Date
   MCINTOSH                    2:18-cv-13176      01/13/2017
   REEVES                      2:19-cv-12711      01/19/2017
   SMITH                       2:19-cv-03290      01/24/2017
   WILLIAMS                    2:18-cv-12464      02/7/2017
   MOODY BEAUMONT              2:17-cv-15956      02/21/2017
   MCNELLEY                    2:18-cv-03612      02/24/2017
   WILKINS                     2:19-cv-10869      03/9/2017
   HALL                        2:18-cv-08717      03/10/2017
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